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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION


CAROLINE BENDIXEN                                    )
                                                     )
                       Plaintiff,                    )
                                                     )
v.                                                                CIVIL ACTION NO. 3:17-CV-181-
                                                     )
                                                                                   DJH
                                                     )
MIDLAND CREDIT MANAGEMENT, INC.,                     )
                                                     )
                       Defendant.                    )

                                    NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, defendant Midland Credit

Management (“Midland” or “Defendant”), appearing specially so as to preserve any and all

defenses available under Rule 12 of the Federal Rules of Civil Procedure, any and all defenses

under the federal laws of bankruptcy, and specifically preserving the right to demand arbitration

pursuant to contractual agreements and the Federal Arbitration Act, 9 U.S.C. §§ 1 et seq., gives

notice of the removal of this action from the Circuit Court in Jefferson County, Kentucky to the

United States District Court for the Western District of Kentucky, Louisville Division. As

grounds in support of this removal, Midland states as follows:

                                     I. INTRODUCTION

          1.    Plaintiff Caroline Bendixen (“Plaintiff”) commenced this action by filing a

Complaint against Midland in Circuit Court in Jefferson County, Kentucky, Case No. 17-CI-

001135 on or about March 2, 2017.

          2.    Plaintiff’s Complaint against Midland alleges improper collection of a debt. See

Compl. ¶¶ 10–19.




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          3.     Based on these allegations, Plaintiff attempts to assert a federal claim against

Midland under the Fair Debt Collection Practices Act (“FDCPA”) and a state-law claim for

intentional or negligent infliction of emotional distress. See Compl.

                           II. FEDERAL QUESTION JURISDICTION

          4.     Federal district courts have “original jurisdiction of all civil actions arising under

the Constitution, laws, or treatises of the United States.”           28 U.S.C. § 1331.       Removal

jurisdiction based upon a federal question exists when a federal question is presented on the face

of a plaintiff’s complaint. See Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987).

          5.     This case is properly removable pursuant to 28 U.S.C. § 1441 because federal

question jurisdiction is present. Section 1441 provides, in pertinent part:

          Except as otherwise expressly provided by Act of Congress, any civil action
          brought in a State court of which the district courts of the United States have
          original jurisdiction, may be removed by the defendant or the defendants, to the
          district court of the United States for the district and division embracing the place
          where such action is pending.

28 U.S.C. § 1441(a).

          6.     This is a civil action arising under the Constitution, laws, or treatises of the United

States because Plaintiff is asserting a claim against Midland based upon alleged violation of the

FDCPA, which is a federal consumer protection statute. See Compl.; see also 15 U.S.C. §§

1692, et seq. Accordingly, Plaintiff’s FDCPA claim arises under the laws of the United States

and could have been originally filed in this Court.

                              III. SUPPLEMENTAL JURISDICTION

          7.     This Court should also exercise supplemental jurisdiction over Plaintiff’s state-

law intentional or negligent infliction of emotional distress claim because this claim forms part

of the same case or controversy as Plaintiff’s FDCPA claim.




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          8.     The supplemental jurisdiction statute, 28 U.S.C. § 1367(a), provides in pertinent

part as follows:

          [I]n any civil action of which the district courts have original jurisdiction, the
          district courts shall have supplemental jurisdiction over all other claims that are so
          related to claims in the action within such original jurisdiction that they form part
          of the same case or controversy . . . .

28 U.S.C. § 1367(a).

          9.     Plaintiff’s state-law intentional or negligent infliction of emotional distress claim

is related to the same alleged activity that forms the basis for Plaintiff’s FDCPA claim, i.e.,

improper collection of a debt. See Compl.; see also 28 U.S.C. § 1367.

          10.    Midland expressly consents to this Court's jurisdiction over Plaintiff’s state-law

intentional or negligent infliction of emotional distress claim, as well as any other state-law

claim arising out of the Plaintiff’s complaint that forms a part of the same case or controversy.

          11.    Accordingly, this state-law claim is related to Plaintiff's federal question claim,

and thereby forms a part of the same case or controversy pursuant to 28 U.S.C. § 1367(a).

                     IV. ADOPTION AND RESERVATION OF DEFENSES

          12.    Nothing in this notice of removal shall be interpreted as a waiver or

relinquishment of any of Midland’s rights to assert any defense or affirmative matter, including,

but not limited to, the defenses of (1) lack of jurisdiction over the person; (2) improper venue; (3)

insufficiency of process; (4) insufficiency of service of process; (5) improper joinder of claims

and/or parties; (6) failure to state a claim; (7) the mandatory arbitrability of some or all of the

claims; (8) failure to join indispensable parties; or (9) any other pertinent defense available under

Fed. R. Civ. P. 12, any state or federal statute, or otherwise.




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                             V. PROCEDURAL REQUIREMENTS

          13.    This case is a civil action within the meaning of the Acts of Congress relating to

the removal of cases.

          14.    True, correct, and certified copies of “all process, pleadings, and orders” are

attached hereto as Exhibit “A” in conformity with 28 U.S.C. § 1446(a). There are no other

process, pleadings, or orders served upon Midland to date in this case.

          15.    This Notice of Removal is filed within the time frame set forth in 28 U.S.C. §

1446, as Midland was served with process on March 7, 2017.

          16.    Midland has heretofore sought no similar relief.

          17.    The United States District Court for the Western District of Kentucky, Louisville

Division, is the court and division embracing the place where this action is pending in state court.

          18.    Contemporaneously with the filing of this notice of removal, Midland has filed a

copy of same with the clerk of the Circuit Court in Jefferson County, Kentucky and a notice of

filing notice of removal. Written notice of the filing of this notice of removal has also been

served upon the Plaintiff.

          19.    Midland reserves the right to supplement this notice of removal by adding any

jurisdictional defenses that may independently support a basis for removal.

          WHEREFORE, Midland prays that this Court take jurisdiction of this action and issue

all necessary orders and process to remove this action from the Circuit Court in Jefferson

County, Kentucky to the United States District Court for the Western District of Kentucky,

Louisville Division.

          Respectfully submitted this 24th day of March, 2017.




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                                                     /s/ Reid S. Manley
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                                                     Attorney for Defendant
                                                     MIDLAND CREDIT MANAGEMENT, INC.




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document has been served on the following
by Electronic Filing, and/or by U.S. First Class Mail, hand delivery, fax or email on this 24th day
of March, 2017:

                                       Zachary L. Taylor
                                      Taylor Couch PLLC
                                2815 Taylorsville Road, Suite 101
                                     Louisville, KY 40205



                                             /s/ Reid Manley
                                             OF COUNSEL




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